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 8                    UNITED STATES DISTRICT COURT
 9                  SOUTHERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                       Criminal Case No. 14CR1549-H
12                             Plaintiff,             JUDGMENT AND ORDER OF
                                                      DISMISSAL
13                       v.
14
      MARIA LUDIA AVILEZ (2),
15
                               Defendant.
16
17         GOOD CAUSE APPEARING and upon the motion of the government, IT IS
18   HEREBY ORDERED that the Information in the above entitled case against
19   defendant Maria Ludia Avilez only is dismissed without prejudice. The defendant
20   is hereby discharge and the bond as to Maria Ludia Avilez only is exonerated.
21         IT IS SO ORDERED AND ADJUDGED.
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      Dated: July 15, 2014
24                                               HONORABLE MARILYN L. HUFF
                                                 UNITED STATES DISTRICT JUDGE
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